"Case 6:06-mc-OOO42-LED Document 1 Filed 11/13/06 Page 1 of 4 Page|D #: 1

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS
TYLER DIVISION

ARTHUR CARSON § ` , .
PLAINTIFF, d?'£?é; nat>£j<;;`

VS.

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VIRGIN BUCHANAN:
MICHAEL UNIT BRANCH OF UTMB,

 

sTATE cLAssIF:cATIoN MEMBERS, § § MQV§ SZUB `§
G.KARRIKER,MICHAEL cLASs;FIcATION \ ' j
cH:EF, ‘x€§u £
l "":1.,',`,"_¢:.!% , 1 -*_.“.z q/i
DEFENDANIS. § M¢§H Q?FQXEMH/
“~~»::;~____:,./"

MOTION FOR LEAVE OF COURT FOR PERMISSION
§§ FILE IMM§NENT QANGER LAWSUIT
TO THE HONORABLE JUDGE OF SAID COURT:

Comes NOW the Plaintiff,Arthur Carson,pursuant to 28 U.S.C.-
l€§l,and lQlB(G),Request this Court Grant Plaintiff permission to
file a Lawsuit in this Court Based on the Imminent Dangar of
Sericds Injury Exception.where Plaintiff have been previously

imposed - th the three strike Provi$ion Of cf Seetion igiB,aS

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Amended by the Prison Litigation Reform Act of 1995.

Because of Priscn Officials continued violation of a Settlement
decree entereé by This Court in Carson VS.EStelle,NO.TY¥794356LCA,
U.S.Eastern District“Tyler,to Move Plaintiff from the Michael Unit,

decfeé at ev@ry turn,and have

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the Defen§ant have def
eubjected Plaintiff to the Wanton Infliction cf Pain,ané Ultimately

His Death without this Court'S interventicn.

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W. .. ..

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§Y§OPS:S OF CL§IMS:

m'lp a elaborate conspiracy of Reteliation against Plaintiff
becaeee of His 1egal ActivitieS,Previoue Grievancee filed,and
Settlement agreement,the Defendante have placed Plaintiff in
imeineet`danger,and.le§T§§im eueceptible to Heighten Liver
Failu%e by refuging Hepetitie~€ Treetment,or Treetment for other
Ailmeete in a eadistical effort of Reprieale. in that Claesification
Officiale have acouieec§é with Medical Personell of the Univeysity
of T_exas Medioe1 Branoh to arbitrarily delete'from ite Computer
pertinenthedicai Reetrietion'e that are used for Joh and Houe ng
aesignmente,end $efosing to treat Flaintiff'e Bul€ging back éiec;
Hea;ing Impairment; or provide the prevailing etandaré of Care to
Hepatitie-C With lnterferon or Rihavirin Treatment to Plaintiff
Wpo was recently inform by befeedant'Hie Liver enzyme Levels
Were Seventy-Four, "A Critical eno Dangeroue Level"[eic].

The Michael Unit ae Retalietion against Pla intiff have forceo
Plaintiff to now Work on Jobe incompatible With His Health.
becepee the1e exist No other Remedy et Law,ene in the Interest of
3a =tice P laintiff Requeet t‘n is Court Grant Him permission to file`
With this Court within 20 Daye His Civil Right’e Laweuit,eno
application to proceeo in forma pauperis for coee ic"er etion by this

Court.

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|l‘r

WHEREFORE PREMISES CONSIDERED,Flaintiff Pray this Motion

-ie 111 thinge'Granted. _ 7 ".'\ 7
§ateé thie Sth day of November,ZCG@. . Gi£@\ (QYQ%%N _ ___-

Arthur Careon
_TDCJ# 51?349-Michael Unit

,_'CERTIFECATE CFVSERVICE:

I,Arthur Carson,oertifY-that-a copy of the foregoing Motion for
leave,ie hereby mailed to:M.L.Wells,ASSt.Attorney General,thie
ch day of NoVember,ZOOG,by placing game in the U.S.Mail,postage
prepaid.

I swear-the foregoing statements are true and oorreot,pursuant

to 28 U.s,c.§ 1746. _ é?/H~ CMM .
Arthur Careon n
P.O.Box 4500
Tenneaeee Colony,TX,75886

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